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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

 THE COIN-TAINER COMPANY, LLC,

                      Plaintiff,

 v.                                           Case No. 19-CV-00234-NJR

 PAP-R PRODUCTS COMPANY, PAP-
 R-TAINER, LLC, and SCOTT WARE,

                      Defendants.


                        MEMORANDUM AND ORDER

ROSENSTENGEL, Chief Judge:

      This matter is before the Court on the Proposed Confidentiality Stipulation and

Protective Order (Doc. 80). The Court has determined that the terms set forth herein are

appropriate to protect the respective interests of the parties, the public, and the Court.

Accordingly, the motion is GRANTED, and it is ORDERED that the documents and

information produced during the course of discovery shall be protected against

inappropriate disclosure in accordance with the following terms and conditions:

      1.     Definition of Discovery Materials. For purposes of this Confidentiality

Stipulation and Protective Order (the “Stipulation”), “Discovery Materials” means all

documents, materials, tangible items, information contained in a document, information

revealed during a deposition, information revealed in an interrogatory answer or

response, information revealed in an answer or response to any request for admission,

information produced to the Court appointed receiver, or information otherwise revealed

in some other fashion in the above-captioned action (the “Action”).



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       2.     Scope of Stipulation. Until further order of the Court or stipulation of the

parties, all Discovery Materials exchanged or produced in this Action shall be subject to

this Stipulation.

       3.     Designation in General. Any party may designate any Discovery Materials

produced in this Action, whether produced by that party, another party, or third parties,

as “CONFIDENTIAL” or “ATTORNEY’S EYES ONLY” pursuant to the terms of this

Stipulation. A third party may designate any Discovery Materials it produces in this

Action as “CONFIDENTIAL” or “ATTORNEY’S EYES ONLY” pursuant to the terms of

this Stipulation.

       4.     Designation as “Confidential”. A party or third party may designate

Discovery Materials as “CONFIDENTIAL” under this Stipulation only after making a

good faith determination that the Discovery Materials contain information that have the

characteristics of confidential information and fall into one or more of the following

categories:

              (a)   information or documents which are proprietary to the party;

              (b)   confidential or trade secrets information that derives value from

                    being kept secret and is not generally available to the public;

              (c)   information that, if disclosed, could cause invasion of the privacy of,

                    or cause annoyance or embarrassment for a party or family member,

                    employee or agent of a party, including the following:

                    (i)    personnel files of a party or a party’s employees;




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                     (ii)   financial or tax information regarding any individual or

                            party.

       5.     Exclusions from Confidential Information. Confidential Information shall

not include documents filed in other courts and not under seal as of entry of this Order.

       6.     Limitations on Use of Confidential Information. Except as otherwise

provided in this Stipulation, or ordered by the Court, all such confidential Discovery

Materials that are designated to be “CONFIDENTIAL” or “ATTORNEY’S EYES ONLY”

pursuant to this Stipulation and any summaries, compilations or other work product

which contain or reflect such confidential materials, shall be kept and treated as

confidential and shall be used only for purposes of the prosecution and/or defense of

this Action or Pap-R Products Co. v. Studio 503 LLC, 3:19-CV-00077-SMY-RJD (S.D. Ill.) (the

“Studio 503 Case”). No Confidential Information may be used by any receiving party for

any competitive, business, or financial purpose. No receiving party may incorporate any

Confidential Information into that party’s business records (e.g., customer and vendor

lists and databases), or otherwise record, summarize, or copy such Confidential

Information other than to prosecute or defend the Action or the Studio 503 Case.

       7.     Limitations on Disclosure of Confidential Information. Except as

otherwise provided in this Stipulation, or ordered by the Court, all Confidential

Information that is marked “CONFIDENTIAL” shall not be disclosed to any person or

entity other than:

              (a)    outside counsel of record for the parties, including partners and

                     employees of such counsel, who are involved in the prosecution




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                 and/or defense of this Action or the Studio 503 Case;

           (b)   contractors of such outside counsel who are involved in the

                 prosecution and/or defense of this Action or the Studio 503 Case;

           (c)   in-house counsel for the parties who are involved in the prosecution

                 and/or defense of this Action or the Studio 503 Case;

           (d)   the parties themselves, including any officers, directors, employees

                 or agents of the parties who have a reasonable need of access to the

                 information in connection with the prosecution and/or defense of

                 this Action or the Studio 503 Case;

           (e)   experts, consultants, potential witnesses and/or any other person

                 retained in connection with the prosecution and/or defense of this

                 Action or to whom counsel for any party believes in good faith that

                 it is necessary that Confidential Information be shown for the

                 purpose of prosecution and/or defense of this Action or the Studio

                 503 Case;

           (f)   the Court, Court personnel, and stenographers and videographers of

                 deposition testimony; and

           (g)   the mediator or arbitrator in any alternative dispute resolution

                 process in which the parties are participating by agreement or order

                 of the Court.

     8.    Conditions Prior to Disclosure. All persons to whom counsel discloses any

material marked “CONFIDENTIAL” or “ATTORNEY’S EYES ONLY” (including legal




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counsel and the parties themselves and their representatives and agents) shall, prior to

receiving such confidential disclosure: (a) be furnished a copy of this Confidentiality

Stipulation and Protective Order; and (b) be instructed by counsel that such disclosure

must be kept confidential and used only in connection with the prosecution and/or

defense of this Action or the Studio 503 Case.

      9.     Designation as “Attorney’s Eyes Only”. A party or third party may

designate Discovery Materials as “ATTORNEY’S EYES ONLY” only after making a good

faith determination that the Discovery Materials contain confidential, proprietary,

and/or trade secrets information that could cause significant competitive damage if

learned by a competitor of the disclosing party.

      10.    Limitations on Disclosure of Attorney’s Eyes Only Information. Except

as otherwise provided in this Stipulation, or ordered by the Court, all Confidential

Information that is marked “ATTORNEY’S EYES ONLY” shall not be disclosed to any

person or entity other than:

             (a)    outside counsel of record (as distinguished from in-house legal

                    counsel) for the Parties, including partners and employees of such

                    counsel, who are involved in the prosecution and/or defense of this

                    Action or the Studio 503 Case;

             (b)    contractors of such outside counsel of record (as distinguished from

                    in-house legal counsel) who are involved in the prosecution and/or

                    defense of this Action or the Studio 503 Case;

             (c)    outside experts and consultants;




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             (d)    the Court, Court personnel, and stenographers and videographers of

                    deposition testimony; and

             (e)    the mediator or arbitrator in any alternative dispute resolution

                    process in which the parties are participating by agreement or order

                    of the Court.

      11.    Designation of Materials Subject to Multiple Levels of Protection. Parties

and third parties may designate Discovery Materials as both “CONFIDENTIAL” and

“ATTORNEY’S EYES ONLY,” in which case the greater degree of protection afforded by

this Stipulation shall apply to such Discovery Materials. Discovery Materials designated

as “ATTORNEY’S EYES ONLY” shall automatically be considered “CONFIDENTIAL”

whether or not so designated.

      12.    Method of Designating Discovery Materials. Each party and third party

shall designate any Discovery Materials that it deems to be “CONFIDENTIAL” in the

following manner:

             (a)    by stamping documents and containers of electronic media with the

                    designation “CONFIDENTIAL” or “ATTORNEY’S EYES ONLY”; or

             (b)    by    imprinting      the   designation   “CONFIDENTIAL”         or

                    “ATTORNEY’S EYES ONLY” next to each answer to interrogatory,

                    response to deposition upon written question, or response to request

                    for admission.

      If only part of a document contains “CONFIDENTIAL” or “ATTORNEY’S EYES

ONLY” information, the supplying party shall so designate by only marking each page




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that contains such information “CONFIDENTIAL” or “ATTORNEY’S EYES ONLY”.

       13.    Use of Discovery Materials During Depositions. Information of a party or

third party disclosed at the deposition of any witnesses may be designated by such party

or third party as “CONFIDENTIAL” or “ATTORNEY’S EYES ONLY” by indicating on

the record at the deposition that the testimony is “CONFIDENTIAL” or “ATTORNEY’S

EYES ONLY” and subject to the provisions of this Stipulation. To the extent practicable,

the court reporter shall be instructed to clearly mark such pages of the deposition

transcript. Any party or third party may also designate its information disclosed at such

depositions as “CONFIDENTIAL” or “ATTORNEY’S EYES ONLY” by notifying all

parties or their counsel in writing, within fifteen (15) days of receipt of the transcript of

the deposition. Unless otherwise agreed, depositions shall be treated as “ATTORNEY’S

EYES ONLY” during the 15-day period following receipt of the transcript. The

notification should set forth the specific pages of the deposition transcript that contain

“CONFIDENTIAL” or “ATTORNEY’S EYES ONLY” information. If the designation is

made on the record at the deposition, the designating party should nonetheless provide

a notification setting forth the specific pages of the deposition transcript that contain

“CONFIDENTIAL” or “ATTORNEY’S EYES ONLY” information within the 15-day

period. Any portion of a witness deposition that encompasses “CONFIDENTIAL” or

“ATTORNEY’S EYES ONLY” information shall be taken only in the presence of persons

who are qualified to have access to such information as identified in this Stipulation.

Notwithstanding     the    restrictions    on   disclosure   above,   documents     marked

“CONFIDENTIAL” or “ATTORNEY’S EYES ONLY” may be shown to a witness at




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deposition or trial by a party, if that party has a good faith basis to believe that the witness

was previously the author or recipient of the document.

       14.     No Waiver. The inadvertent or unintended disclosure of Confidential

Information by the supplying party, regardless of whether the information was

designated as “CONFIDENTIAL” or “ATTORNEY’S EYES ONLY” at the time of

disclosure, shall not be deemed a waiver, in whole or in part, of a party’s claim of

confidentiality, either as to the specific information disclosed or as to any other

information relating thereto or on the same or related subject matter.

       15.     Discovery Materials From Third Parties. Any person or entity that is not a

party to this litigation may supply Confidential Information to any party in accordance

with the provisions of this Stipulation. If information is obtained from non-parties,

through      subpoena   or   otherwise,    such    information    may     be   designated    as

“CONFIDENTIAL” or “ATTORNEY’S EYES ONLY” by any party to this Stipulation that

asserts a right of privacy or confidentiality as to the materials produced by such third

party. In such event, all parties in possession of such third-party materials shall promptly

mark each page of such materials (including all copies thereof) “CONFIDENTIAL” or

“ATTORNEY’S EYES ONLY”. A copy of this Stipulation and the Protective Order shall

be served along with any subpoena served in connection with this Action.

       16.     Challenging Designations of Discovery Materials. In the event that any

party disagrees at any point in these proceedings with the designation of any Discovery

Materials as “CONFIDENTIAL” or “ATTORNEY’S EYES ONLY”, the challenging party

shall notify the other parties (and non-party if applicable) in writing and state his/her




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objections. Within fifteen (15) days after service of the objection, the parties (and non-

party if applicable) shall attempt to resolve such dispute in good faith on an informal

basis. If the dispute cannot be resolved informally, the party or entity disputing the

designation of such Discovery Materials as “CONFIDENTIAL” or “ATTORNEY’S EYES

ONLY” may, thereafter, bring a motion for an order of the Court that the Discovery

Materials in question, in whole or in part, under one or more of the designations

described, should not be protected from disclosure. The burden is on the designating

(non-moving) party to show that the Discovery Materials should be protected from

disclosure or otherwise subject to limitations on its use or disclosure. Pending disposition

of the motion, all parties shall provisionally honor the “CONFIDENTIAL” or

“ATTORNEY’S EYES ONLY” designations under challenge.

       17.    Filing Discovery Materials Under Seal. In the event that any party wishes

to use any Discovery Materials designated as “CONFIDENTIAL” or “ATTORNEY’S

EYES ONLY” in any affidavits, briefs, memoranda of law, or other papers filed with the

Court in the above Action or the Studio 503 Case, such party shall file such documents

with the Court under seal on CM/ECF if filed electronically or if filed in hard copy, under

seal by placing such materials in an envelope marked “NOT TO BE OPENED EXCEPT

BY ORDER OF THE COURT: THIS ENVELOPE MAY BE GIVEN TO NO PERSON

WITHOUT ORDER OF THE COURT” with this Order attached. The Clerk of Court,

Court Administrator, and Court personnel of the above-named Court is directed to

maintain under seal all documents, transcripts of deposition testimony, and any other

information filed in the above Action that have been designated, in whole or in part, as




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“CONFIDENTIAL” or “ATTORNEY’S EYES ONLY”. The parties recognize that their

right to file materials under seal may be restricted by the Court, in the Court’s discretion,

to protect the public’s right of access to court files.

       18.    Inadvertent Filing of Discovery Materials Not Under Seal. If any party

neglects to so direct the Court to maintain any Discovery Materials designated as

“CONFIDENTIAL” or “ATTORNEY’S EYES ONLY” under seal, as required by this

Stipulation, the information nevertheless shall retain its protected status, the filing party

shall immediately take steps to correct its omission, and any other party or entity may

petition the Court to have such Discovery Materials placed under seal.

       19.    Timing of Designations. This Stipulation covers all information and

discovery produced in this Action, regardless of the time of its production, and includes

any previously discovered or produced information in this Action. A party is entitled to

designate information and discovery as “CONFIDENTIAL” or “ATTORNEY’S EYES

ONLY” even after its information and discovery have been produced to another party;

however, previous disclosure by the other party of such information shall not be deemed

a violation of this Stipulation.

       20.    Use of Discovery Materials in Court. The fact that a document or transcript

is designated as “CONFIDENTIAL” or “ATTORNEY’S EYES ONLY” shall not itself be

admissible as evidence during the trial of the above Action or the Studio 503 Case. During

the trial and at any hearing in this Action or the Studio 503 Case, the party proposing to

present information designated as “CONFIDENTIAL” or “ATTORNEY’S EYES ONLY”

shall so inform the Court to allow the Court to take reasonable measures to protect the




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confidentiality of such information, including clearing the courtroom of persons not

involved in the proceedings, and ordering all remaining persons to keep the information

they receive in strict confidence.

       21.    Modifications. Nothing in this Stipulation shall be deemed to preclude any

party from seeking and obtaining, on appropriate showing, such additional protection

with respect to the confidentiality of documents or other Discovery Materials as that

party may consider appropriate. Further, no party shall be precluded from claiming that

any matter designated hereunder is not entitled to protection or that a more limited form

of protection than designated is appropriate.

       22.    Return of Discovery Materials. Within thirty (30) days after written

request taking place after the final termination of the above Action, including all appeals,

each and every party, and all experts, consultants, and/or witnesses, receiving any

Discovery Materials designated as “CONFIDENTIAL” or “ATTORNEY’S EYES ONLY”

shall be responsible for returning to the furnishing party’s counsel all such information

in such individual’s possession, custody, or control, including all copies, and destroying

all excerpts or summaries thereof, and destroying all electronic copies and excerpts or

summaries thereof or any other materials derived therefrom. Additionally, every party,

and all experts, consultants, and/or witnesses, receiving any Discovery Materials

designated as “CONFIDENTIAL” or “ATTORNEY’S EYES ONLY” shall provide a

certification as to the return or destruction of the Discovery Materials designated as

“CONFIDENTIAL” or “ATTORNEY’S EYES ONLY”. This Section is not intended to

require the return or destruction of attorney work-product, attorney emails, or attorney-




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client memoranda, other similar documents, so long as they are maintained or stored

safely and confidentially in the law offices of outside counsel to any of the parties in the

above Action for a period of six years following conclusion of the Action. At the

conclusion of the six-year period, outside counsel may turn over such materials to its

client(s) notwithstanding anything to the contrary in this Stipulation. Notwithstanding

the foregoing and subject to the ongoing confidentiality obligations below, counsel for a

party may retain archival copies of expert reports, discovery responses, and/or filings

that contain Confidential Information.

       23.    Survival of Confidentiality Obligations. The parties and their counsel

further agree that Discovery Materials designated as “CONFIDENTIAL” or

“ATTORNEY’S EYES ONLY” remain confidential after the termination or conclusion of

the above Action and/or the termination or expiration of this Stipulation and that such

information may not be used in any other matter or for any other purpose without the

prior written consent of all parties to this Stipulation.

       24.    Attorney Rendering Legal Advice. Nothing in this Stipulation shall bar or

otherwise restrict any attorney from rendering legal advice to his or her client with

respect to the Action or the Studio 503 Case and, in the course of doing so, relying upon

his or her examination of Confidential Information.

       25.    Public Record or Other Source. Nothing contained in this Stipulation shall

prevent any party from the free and unrestricted use of any information that is a matter

of public record or knowledge or any information that is already in the knowledge or

possession of the party unless that party is already bound by agreement or order not to




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disclose such information.

      IT IS SO ORDERED.

      DATED: January 15, 2020


                                         ____________________________
                                         NANCY J. ROSENSTENGEL
                                         Chief U.S. District Judge




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